Stanley D. Winderman, Petitioner, v. Commissioner of Internal Revenue, RespondentWinderman v. CommissionerDocket No. 65081United States Tax Court32 T.C. 1197; 1959 U.S. Tax Ct. LEXIS 93; September 14, 1959, Filed *93 Decision will be entered for the petitioner.  Expenses incurred annually by taxpayer traveling from Los Angeles to New York and return in order to consult a physician in whom he had confidence held deductible as medical expenses where the primary purpose of such trips was to obtain the professional services of the physician and where he would not have otherwise made such trips. John J. Burke, Esq., for the petitioner.James Q. Smith, Esq., for the respondent.  Raum, Judge.  RAUM*1197  The Commissioner determined deficiencies in income tax against petitioner for the years 1952, 1953, and 1954 in the amounts of $ 157.57, $ 116.57, and $ 72.16, respectively.  The sole issue is whether expenditures made by petitioner in those years in connection with travel from Los Angeles to New York City and return are deductible as medical expenses.FINDINGS OF FACT.Petitioner filed his income tax returns for the years 1952, 1953, and 1954 with the director of internal revenue at Los Angeles, California.  He is now 68 years of age and has resided in California since 1947.Petitioner has been an employee and official in the Internal Revenue Service for many years.  Prior to moving*94  to California he lived in New York City.  He was married in 1941 and his family physician was an internist named Dr. Greenwald.  Petitioner had hypertension, a prostatic condition, a possible hernia, and other physical conditions that were matters of concern to him.  While residing in New York he visited Dr. Greenwald from time to time.  In 1948, about 18 months after moving to California, petitioner returned to New York to close up an apartment which he had subleased.  On that trip he again visited Dr. Greenwald, who advised him to have periodical checkups, at least once or twice a year.*1198  Petitioner did not have a family physician in California until 1950 when he began to use Dr. La Mont, who, however, was not an internist. Petitioner continued to look to Dr. Greenwald for advice and guidance in connection with his general condition, and made trips annually to New York for a checkup by Dr. Greenwald.  He made one such trip, by airplane on nonstop flights, during each of the years 1952, 1953, and 1954.  During 1952 and 1953 he incurred travel and subsistence expenses in connection with such trips, in the amounts of $ 463.42 and $ 342.85, respectively, which the Commissioner*95  disallowed as deductions.  In 1954 he incurred travel expenses in the amount of $ 240.51, which the Commissioner similarly disallowed as a deduction.  The Commissioner's determination stated:Expenses to New York City and return to Los Angeles are disallowed for the reason that each annual trip was not taken primarily for medical purposes.  Hence such were personal expenses and are not allowable as a deduction.Petitioner's wife was a buyer of "better dresses" for a group of retail stores.  She made four or five business trips each year to New York City.  Petitioner planned his annual trips to New York so as to coincide with one of his wife's trips. During such trips his wife's time was fully occupied by her business activities and she had little or no time for vacation-type activities with petitioner, nor did he engage in such activities.  He visited no night clubs or resort areas.Petitioner's primary purpose in making the trips to New York City during the taxable years was to go to Dr. Greenwald for professional services, and to such other physicians in New York at the same time as Dr. Greenwald might recommend.  He would not have made the trips but for his expectation of having*96  a thorough physical examination by Dr. Greenwald, in whom he had confidence. The overall time required for a checkup on petitioner's trips was about 10 days, his final visit to Dr. Greenwald being for the purpose of discussing laboratory findings and the like.  During his stays in New York he spent a considerable portion of his spare time visiting former colleagues of the Internal Revenue Service at its offices at 90 Church Street, New York City.  One Sunday afternoon he visited a former associate in Westchester County for several hours.  On his trips he would also go to Brooklyn for about an hour once a year to visit a sister who was not in good health.  Also, he might go to a movie occasionally or attend the theatre.On each of petitioner's trips to New York during the taxable years his social and recreational activities were minor and distinctly secondary to his medical visits.OPINION.This case presents solely an issue of fact, which the Court determined at the conclusion of the trial and announced at *1199  that time.  Both sides were in agreement that if petitioner's trips to New York were taken primarily for medical purposes the controverted expenses are deductible. *97  We heard the evidence and were fully satisfied that petitioner's sole purpose in making the trips was to consult Dr. Greenwald professionally.  He had confidence in Dr. Greenwald, and we know of no rule of law that would require him to seek out another physician in Los Angeles as a substitute for Dr. Greenwald.  His trips to New York were made with the bona fide intention of obtaining the professional services of Dr. Greenwald.  The expenses in controversy are deductible.Decision will be entered for the petitioner.  